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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA
                             Richmond Division


KATHERINE H. HOLT,

       Plaintiff,

V.                                        Civil Action No. 3:18-cv-503


FOOD LION GROCERY STORE
OF CHESTER, et al.,

       Defendants.



                            MEMORANDUM OPINION


       This matter is before the Court on PLAINTIFF, KATHERINE H.

HOLT'S MOTION TO REMAND {EOF No. 2), which, for the following reasons,

will be denied.




                                 BACKGROUND


I.    Procedural Context


       In this action, Katherine H. Holt sues Food Lion Grocery Store

of Chester, Delhaize America, Inc., and Food Lion, LLC (hereinafter

"'Food Lion") on a state law tort claim for a slip and fall that

occurred at a Food Lion grocery store. Compl. at 1-5 (ECF No. 1-1).

Holt initially brought this action in the Circuit Court for the City

of Richmond ("state action"). Compl. at 1 (ECF No. 1-1). Food Lion

removed the case to this Court on July 19, 2018 based on diversity

jurisdiction. Notice of Removal (ECF No. 1). Holt moved to remand

the case to state court on July 27, 2018 (ECF No. 2).
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II.     Relevanl: Fact:s


        There are two sets of relevant facts. The first relates to the


citizenship of the parties. The second relates to the amount in

controversy.

  A. Citizenship of the Parties

        At the time of the filing of the state action and the filing

of the Notice of Removal, Holt was a citizen of Virginia. ECF No.

1 at ^ 4.


        According to the Notice of Removal, Food Lion Grocery Store of

Chester is not a legal entity. ECF No. 1 at SI 5. See also Aff. of

Bruce Astrachan (ECF No. 1-3 at SI 2).^

        Delhaize   America,    Inc.   has       a   complex   structure.   Delhaize

America, Inc. was a North Carolina corporation whose principal place

of business was Salisbury, North Carolina. ECF No. 1 at SI 7.              Delhaize

America, Inc.      has     since   become       Delhaize   America, LLC,   a   North

Carolina LLC whose sole member is Delhaize U.S. Holdings, Inc., a

Delaware Corporation whose principal place of business is Salisbury,

North Carolina. Id. The sole member of Delhaize U.S. Holdings, Inc.,

is Ahold Delhaize USA, Inc., a Delaware corporation whose principal

place of business is Quincy, Massachusetts. Id. The sole member of

Ahold Delhaize USA, Inc., is Ahold Delhaize Investment Holding, Inc.,



^ Mr. Astrachan represents that he is ^^Senior Counsel-Claims" for
Retail Business Services LLC. Retail Business Services LLC ^^is an
affiliate of, and provides administrative support, including legal
support, for Food Lion, LLC." ECF No. 1-3 at SI 1.
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a Delaware corporation (principal place of business unspecified).

Id. The sole member of Ahold Delhaize Investment Holding, Inc., is

Ahold    Delhaize   America   Holding,   Inc.,   a   Delaware   corporation

(principal place of business unspecified). Id. The indirect parent

of Ahold     Delhaize   America   Holding, Inc., is     Koninklijke Ahold

Delhaize N.V., a Dutch public company whose principal place of

business is located in the Netherlands. Id. The Notice of Removal


squarely asserts that "Delhaize America, Inc. is not a citizen of

the Commonwealth of Virginia." Id.

        Food Lion, LLC is a North Carolina LLC (principal place of

business unspecified). ECF No. 1 at H 6. Its sole member is Delhaize

America, LLC. Id. Delhaize America, LLC's structure is set out above.

Again, the Notice of Removal squarely asserts that "Food Lion, LLC

is not a citizen of the Commonwealth of Virginia at the time of the

filing of this Notice of Removal and was not a citizen of the

Commonwealth of Virginia at the time of the commencement of the State

Court Action."2 id.


  B. Amount in Controversy

        Holt's state action sought damages in the amount of $400,000.

Compl. at 4-5 (ECF No. 1-1). In the Notice of Removal, Food Lion states

that "[t]he amount in controversy. . .exceeds the sum of $75,000,

2 This corporate maze is confusing, and one wonders why it exists.
However, in her Motion to Remand (ECF No. 2), Holt admits the
allegations in Paragraphs Four through Seven of the Notice of Removal
(ECF No. 1), conceding that the citizenship of the parties is as Food
Lion describes it in the Notice of Removal. ECF No. 2 at SISI 4-7.
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exclusive of interests and costs, as appears by copy of Plaintiff's

Complaint." EOF No. 1 at SI 3.

     Following Food Lion's Notice of Removal, Holt filed her Motion

to Remand. EOF No. 2. In this motion. Holt sought to ''answer the Notice

of Removal filed in this District Court by the defendants," and

specifically "avers that. . .Plaintiff admits the allegations in

Paragraph 3" of the Notice of Removal. ECF No. 2 at 2; ECF No. 1 at

SI 3. As quoted above. Paragraph Three of the Notice of Removal states

that the amount in controversy exceeds $75,000. ECF No. 1 at SI 3.

     Confusingly, after admitting that the amount in controversy

exceeded $75,000, Holt also attached to her Motion to Remand an

affidavit from her attorney, Brenda Page, stating that Page had filed

an Amended Complaint pursuant to Fed. R. Civ. P. 15(a) reducing the

ad damnum to $74,000 and that Page would not seek to increase the

ad damnum above $74,000 if the case were remanded. Aff. of Brenda

Page (ECF No. 2-1 at 1-2). Holt also attached (as an exhibit to her

Motion   to   Remand)   an   Amended   Complaint   requesting   $74,000   in

damages.^ Am. Compl. (ECF No. 2-2).

                                DISCUSSION


  A. Legal Standard for Removal

     "Federal courts are courts of limited jurisdiction and the

threshold requirement in every federal case is jurisdiction."             Lee

3 The Amended Complaint has not formally been filed with the Court.
It has only been filed as an exhibit to Holt's Motion to Remand. ECF
No. 2-2.
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V. Citimortgage, Inc., 739 F.Supp. 2d 940, 942 {E.D. Va. 2010)

(Williams, J.).    Typically, ""any civil action brought in a State

court of which the district courts of the United States have original

jurisdiction, may be removed by the defendant or the defendants, to

the district court of the United States for the district and division


embracing the place where such action is pending."              28 U.S.C. §

1441(a). Where a defendant seeks to remove a case from state to

federal court, ""it is the defendant who carries the burden of alleging

in his notice of removal and, if challenged, demonstrating the

court's jurisdiction over the matter." Strawn v. AT & T Mobility,

LLC, 530 F.3d 293, 296 (4th Cir. 2008). The removing defendant's

burden of demonstrating federal jurisdiction ^'is no greater than is

required   to   establish   federal       jurisdiction   as   alleged   in   a

complaint." Ellenburq v. Spartan Motors Chassis, Inc., 519 F.3d 192,

200 (4th Cir. 2008). That said, the Court is mindful that ^'[b]ecause

removal jurisdiction raises significant federalism concerns, we must

strictly   construe   removal   jurisdiction." Mulcahey         v.   Columbia

Organic Chems. Co., Inc., 29 F.3d 148, 151 (4th Cir. 1994). If the

Court determines it does not have subject matter jurisdiction over

a removed case, it must remand the case back to the state court. See

28 U.S.C. § 1447(c).

     At issue here is removal based on diversity of citizenship

jurisdiction.    This Court has original jurisdiction under diversity

jurisdiction if the amount in controversy exceeds $75,000, exclusive
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of interests and costs, and the parties are citizens of different

States. 28 U.S.C. § 1332(a)(1).        In removal cases, ''the sum demanded

in good faith in the initial pleading shall be deemed to be the amount

in controversy," subject to an exception not applicable here.^ 28

U.S.C. § 1446(c)(2). See also Hatcher v. Lowers Home Centers, Inc.,

718 F. Supp. 2d 684, 686 (E.D. Va. 2010) (stating that amount in

controversy is determined both at time of filing of state action and

at time of removal); 16 Moore^s Federal Practice - Civil § 107.56

("The amount in controversy is determined based on the plaintiff's

complaint at the time the removal notice is filed.").

        As to citizenship of the parties, a natural person is a citizen

of the state in which he or she is domiciled. See e.g., Sun Printing

& Publ'g Ass'n v. Charles William Edwards, 194 U.S. 377, 382-83

(1904). A corporation is a citizen of the states in which it is

incorporated and the state in which it has its principal place of

business. 28 U.S.C. § 1332(c)(1); see also Hertz Corp. v. Friend,

559    U.S.   77   (2010)   (establishing   the "nerve    center" test      for

determining a corporation's principal place of business). Complete

diversity—meaning       the   citizenship    of   each   plaintiff   must    be

different from the citizenship of each defendant—is required. See,

^ The statute permits the "Notice of Removal" to establish the amount
in controversy if the initial pleading either (1) seeks non-monetary
relief, or (2) seeks a monetary judgment, but state law does not
permit a demand for a specific sum or allows a recovery in excess
of the amount demanded. 28 U.S.C. § 1446(c)(2). This exception is
not relevant here because the initial pleading requests $400,000 in
damages.
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e.g., Hoschar v. Appalachian Power Co., 739 F.3d 163, 170 {4th Cir.

2014).

       Accordingly, where the parties are citizens of different states

and the amount in controversy—as determined by the initial state

court    filing    at    the    time   of       the   filing    of     the   notice     of

removal—satisfies the          jurisdictional         amount,    then      the   case   is

removable to this Court under diversity jurisdiction.

     B. Post-Removal Changes to Amount in Controversy

       This case raises a slight wrinkle because, following removal

by Food Lion, Holt indicated that the amount in controversy is

actually $74,000, therefore stripping (she argues) the Court of

jurisdiction. ECF No. 2.

       As explained above, in removal cases, the amount in controversy

is governed by the plaintiff's state action complaint as it appears

at the time of filing the notice of removal, provided that such amount

is demanded in good faith. 28 U.S.C. § 1446(c)(2).                   The Supreme Court

of the United States has held that a plaintiff ''does not deprive the

district court of jurisdiction" where, post-removal, he "reduces the

claim below the requisite amount." St. Paul Mercury Indem. v. Red

Cab Co., 303 U.S. 283, 292 (1938). See also Porsche Cars N. Am., Inc.

V.    Porsche.net,      302   F.3d   248,   255-56     (4th     Cir.    2002)    ("[T]he

existence of diversity jurisdiction [is determined] at the time the

action is filed, regardless of later changes in originally crucial

facts    such     as    the    parties'     citizenship        or    the     amount     in
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controversy."); Hatcher, 718 F. Supp. 2d at 687 {collecting cases).

        Hatcher provides a clear illustration of the rule. There, the

plaintiff filed a state law tort claim for a similar slip-and-fall

injury, claiming $3,000,000 in damages. 718 F. Supp. 2d at 685-86.

The defendant properly removed the case. Id. at 686.          After removal,

the plaintiff filed an amended complaint reducing his claimed damages

to $74,500, as well as a motion to remand the matter to state court.

Id.     Both parties later agreed through a consent order to lower the

amount in controversy amount to $74,500. Id.           Notwithstanding this

agreement, however, the Court denied the motion to remand based on

the weight of the case law and sound policy arguments.^ Id. at 687-89.

The Court was concerned about parties '"unfairly manipulat[ing]

judicial proceedings" by reducing the amount in controversy after

removal, as well as "forum or judge shopping." Id. at 688-89.

        Thus, once a case is properly removed to this Court, a plaintiff

may not deprive the Court of diversity jurisdiction simply by

amending the complaint to request damages below the jurisdictional

amount.




5 The Court did note that there were some cases where "post-removal
stipulations reducing the amount in controversy" were considered
"when a plaintiff's jurisdictional basis or claims are 'ambiguous'
or 'indeterminate.'" Id. at 688 (citing several cases). The Court
rejected such an argument in Hatcher because the "claim and
jurisdictional basis were neither ambiguous nor indeterminate at the
time of removal" since Hatcher claimed a fixed dollar amount of
$3,000,000 and the defendant's notice of removal stated that the
claim exceeded $75,000. Id.
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  C. Analysis

     The Court is satisfied that removal was proper in this case.

The parties are citizens of different states.           Holt is a citizen of

Virginia (EOF No. 1). Food Lion Grocery Store of Chester is not a

legal entity. Id.     Delhaize America, LLC (formerly Delhaize America,

Inc.) is a citizen of North Carolina based on incorporation and

principal place of business. Id.      Food Lion, LLC is a citizen of North

Carolina based on its state of incorporation. The record is not

entirely clear where its principal place of business is, but suggests

it is North Carolina too. Further, Food Lion asserts that Food Lion,

LLC is not a citizen of Virginia in its Notice of Removal. Id. at

SI 6. Accordingly, the Court finds that none of the Defendants share

citizenship with Holt; there is complete diversity of the parties.

     The amount in controversy for purposes of removal in this case

is the amount pleaded in good faith in the initial state action

complaint, as viewed at the time the Notice of Removal was filed.

Thus, the amount in controversy is $400,000, well in excess of

$75,000.    This was the amount both in the initial state action and

at the time Food Lion removed the case.               Nothing in the record

indicates any bad faith on the part of the Plaintiff in claiming

$400,000.   The    Court   finds,    then,    that    the   requirements   for

jurisdiction under 28 U.S.C. § 1332(a) have been met and the case

was properly removed pursuant to 28 U.S.C. § 1441(a).

     Lastly,      Holt's   attempt   to      reduce   her   claimed   damages
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post-removal does not deprive this Court of jurisdiction. The cases

cited above establish this rule. ^ Indeed, this case is nearly

identical to the facts of Hatcher, wherein the plaintiff s state

action claimed an amount well over the amount in controversy, the

parties have diverse citizenship, and there is a post-removal attempt

to reduce the amount of damages to below $75,000. See 718 F. Supp.

2d at 686. Likewise, the plaintiff in Hatcher ''never objected. . .to

removal based on [her] original complaint" but rather seeks "to lower

the amount in controversy by amending the complaint after federal

jurisdiction   was perfected." Id. at 686-87. The only material

difference between this case and Hatcher is that there is no agreement

by the parties to allow the damages to be lowered. However, even with

the parties' agreement, the Hatcher court did not permit remand since

the amount demanded in the original state claim clearly established

the court's jurisdiction. Id. at 688-89.

     If the weight of the case law were not enough, the Court is also

persuaded by strong policy arguments weighing in favor of denying


® Holt cites several cases in her opening brief, but none supports
her position. In Brown v. Wal-Mart Stores, Inc., the Plaintiff's
original complaint only sought $70,000 in damages, meaning it did
not satisfy the amount in controversy. No. 5:13cv00081, 2014 WL
60044, at *1-3 (W.D. Va. Jan. 7, 2014). Likewise, Willoughby v. Kroger
involved an original claim for damages of $74,900 and a Defendant
who sought to show that such an amount was a bad-faith attempt by
the Plaintiff to avoid removal. No. 6:17-cv-00067, 2017 WL 6063075,
at *1-2 {W.D. Va. Dec. 7, 2017). Neither of those cases address the
situation here where the plaintiff brought her original claim for
an amount in excess of $75,000 and post-removal, tries to decrease
her damages request to below the jurisdictional amount.
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remand. If a plaintiff could strip a federal court of jurisdiction

simply by reducing her damages amount after removal, it would

encourage gamesmanship and needless litigation on a non-merit issue.

A plaintiff filing suit against an out-of-state defendant must be

aware that removal to federal court based on diversity of citizenship

jurisdiction is possible if the amount in controversy is met. The

Court will not countenance a result that permits a plaintiff to file

a large damages claim in state court, wait to see if removal happens,

and if it does, to then seek remand based on a lower amount of damages.

                           CONCLUSION & ORDER


     For the foregoing reasons, it is hereby ORDERED that the

PLAINTIFF, KATHERINEH. HOLT'S MOTION TO REMAND (EOF No. 2) is denied.

     It is so ORDERED.




                                                    /s/     ML
                                  Robert E. Payne
                                  Senior United States District Judge


Richmond, Virginia
Date: January ^ , 2019




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